              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



SECURITIES AND EXCHANGE
COMMISSION,

                  Plaintiff,

                    v.                      Civil Action No.
                                            1:24-cv-00771-UA-JLW

WILLIAM RHEW III,

                 Defendant,




                MOTION TO ENTER CONSENT JUDGMENT

      Plaintiff United States Securities and Exchange Commission (“SEC”)

respectfully requests that the Court enter the proposed Consent Judgment as to

defendant William Rhew III (“Defendant”) which will be emailed to Magistrate

Judge Joel Webster in accordance with the Court’s rule at

JWebster@ncmd.uscourts.gov. The SEC and Defendant have reached a partial

settlement in this case, the terms of which are reflected in the Consent of

Defendant, attached hereto, which is incorporated into the proposed Judgment.

Entry of the proposed Judgment will fully resolve the SEC’s claims for injunctive

relief against Defendant. As to the remaining claims, the amount of disgorgement




    Case 1:24-cv-00771-TDS-JLW        Document 3     Filed 10/01/24   Page 1 of 3
and a civil penalty would be resolved upon a later motion by the Commission.

      Based upon the foregoing, the SEC requests that the Court enter the Consent

Judgment.

Respectfully submitted this 1st day of October, 2024.


                                      /s/ William P. Hicks
                                      William P. Hicks
                                      Senior Trial Counsel
                                      Georgia Bar No. 351649
                                      hicksw@sec.gov

                                      M. Graham Loomis
                                      Regional Trial Counsel
                                      Georgia Bar No. 457868
                                      loomism@sec.gov

                                      Counsel for Plaintiff
                                      Securities and Exchange Commission
                                      950 East Paces Ferry Road, NE,
                                      Suite 900
                                      Atlanta, Georgia 30326-1232
                                      Tel: (404) 842-7600




                                         2



    Case 1:24-cv-00771-TDS-JLW      Document 3     Filed 10/01/24   Page 2 of 3
                         CERTIFICATE OF SERVICE
      I hereby certify that on this 1st day of October, 2024, I electronically filed
the Motion to Enter Consent Judgment with the Clerk of Court using the CM/ECF
and by UPS Overnight Mail to:

William Rhew III
c/o Joshua H. Bennett
Bennett Guthrie PLLC
1560 Westbrook Plaza Drive
Winston-Salem, NC 27103

                                 Respectfully submitted,


                                 /s/ William P. Hicks
                                 WILLIAM P. HICKS
                                 Attorney for Plaintiff
                                 Securities and Exchange Commission




                                          3



    Case 1:24-cv-00771-TDS-JLW        Document 3     Filed 10/01/24   Page 3 of 3
